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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

NetChoice, LLC and Computer &
Communications Industry Association

1:21-cv-00840-RP

 

-vs- Case No.:

Ken Paxton, in his official capacity as Attorney
General of Texas

 

MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Steven P. Lehotsky __, applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Plaintiffs in this case, and would

respectfully show the Court as follows:

1. Applicant is an attorney and a member of the law firm (or practices under the name of)

Lehotsky Keller LLP ,

with offices at

Mailing address: 200 Massachusetts Avenue, NW

City, State, Zip Code: Washington, DC 20001

Telephone: (512) 693-8350

Facsimile:

 

Email: steve@lehotskykeller.com
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Since Feb. 1,2010 g , Applicant has been and presently is a member of and in
good standing with the Bar of the State of District of Columbia ,
Applicant’s bar license number is 992725

 

Applicant has been admitted to practice before the following courts:

Court: Admission date:

Massachusetts December 17, 2002

 

 

 

 

 

 

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which
Applicant is no longer admitted to practice):

n/a

 

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided
below:

n/a

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

n/a
10.

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Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

[_] Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.

Applicant has co-counsel in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

 

 

 

Co-counsel: Scott Keller

Mailing address: 919 Congress Avenue
City, State, Zip Code: Austin, TX 78701
Telephone: (512) 693-8350

 

Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00
pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable
to: Clerk, U.S. District Court].

Should the Court grant applicant's motion, Applicant shall register as a filing user within 10
days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Western District of Texas.
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Wherefore, Applicant prays that this Court enter an order permitting the admission of
Steven P. Lehotsky to the Western District of Texas pro hac vice

for this case only.

Respectfully submitted,

Steven P. Lehotsky
[printed name of Applicant]

|

 

        

[signature of Applicant]

CERTIFICATE OF SERVICE
I hereby certify that I have served a true and correct copy of this motion upon each

attorney of record and the original upon the Clerk of Court on this the 1st day of
October > 2021

Steven P. Lehotsky
[printed name of Applicant]

[signature of Applicant] Cc

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

NetChoice, LLC and Computer &
Communications Industry Association

= Case No. 1:21-cv-00840-RP

 

Ken Paxton, in his official capacity as Attorney
General of Texas

 

ORDER

BE IT REMEMBERED on this the day of , 20 , there

was presented to the Court the Motion for Admission Pro Hac Vice filed by
Steven P. Lehotsky (“Applicant”), counsel for Plaintiffs and

the Court, having reviewed the motion, enters the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant
may appear on behalf of Plaintiffs in the above case.

IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,
in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

SIGNED this the day of 20

 

 

UNITED STATES DISTRICT JUDGE
